        Case 1:19-cv-01783-AT Document 378 Filed 03/10/22 Page 1 of 6




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


RANDALL CALLAHAN, et al.,               :
                                        :
       Plaintiffs,                      :
                                        :
       v.                               :         CIVIL ACTION NO.
                                        :         1:19-cv-1783-AT
UNITED STATES DEPARTMENT                :
OF HEALTH AND HUMAN                     :
SERVICES through XAVIER                 :
BECERRA in his official capacity as     :
Secretary of the United States          :
Department of Health and Human          :
Services, et al.,                       :
                                        :
       Defendants.                      :

            ORDER OF APPOINTMENT OF SPECIAL MASTER

      The Court held a teleconference in this matter on January 21, 2022. (Doc.

373.) Afterwards, at the direction of the Court, the parties submitted a Joint

Discovery Statement on January 28, 2022, (Doc. 374), and the Court held a follow-

up teleconference on February 23, 2022, (Doc. 376). At the latter of these two

teleconferences, the Court discussed its views regarding some of the substantive

disputes raised. This guidance should guide the parties’ discussions and actions

moving forward. The Court also addressed some of the major challenges in the

pending discovery dispute, particularly given the significant differences in the

parties’ respective positions regarding the scope of document production

authorized by the Court’s Rule 56(d) Order and the alleged burden of producing
        Case 1:19-cv-01783-AT Document 378 Filed 03/10/22 Page 2 of 6




those documents. The parties still have not been able to resolve all of their

disputes, despite filing a lengthy Joint Discovery Statement, spanning over 40

pages of briefing and over 200 pages of exhibits, and discussing their respective

positions with the Court in an hour and a half follow-up teleconference.

      In the Court’s view, as shared with counsel, a special master’s appointment

in this case would significantly expedite resolution of the ongoing discovery

disputes. These ongoing disputes are impeding progression of this complex case

of public importance. For these reasons, the Court intends to appoint Carlos A.

González (www.gonzalez-law.com), a highly experienced and qualified special

master and mediator, to serve as Special Master in this matter, pursuant to Rule

53 of the Federal Rules of Civil Procedure pursuant to an appropriately tailored

appointment order.

      The Court furnished the parties with a draft version of this Order of

Appointment of the Special Master on February 28, 2022 for comment and has not

received any objections to the terms of the Order. Accordingly, the Court

APPOINTS Carlos A. González as special master, pursuant to Rule 53(a)(1)(C) of

the Federal Rules of Civil Procedure and subject to the provisions of this Order.

The Court hereby ORDERS as follows:

      (1) Mr. González shall serve as special master (“Special Master”) in this case

and shall discharge the following overall duties: (a) the Special Master shall

mediate, resolve and, when necessary, issue reports and recommendations

(“R&Rs”) regarding discovery and privilege disputes arising in this matter with


                                         2
         Case 1:19-cv-01783-AT Document 378 Filed 03/10/22 Page 3 of 6




respect to the Rule 56(d) discovery phase, and take other proactive measures as

necessary to resolve such disputes during this limited phase of discovery efficiently

and fairly.

      (2) The Special Master shall reasonably determine the appropriate

procedures for resolution of all assigned matters after consultation with the parties

and shall have the authority to take all appropriate measures to perform the

assigned duties with such exceptions to procedure as set forth below.

      (3) Discovery disputes shall be governed as follows:

              a) The Special Master shall take reasonable steps to resolve the

              discovery disputes informally through direct discussions with counsel

              and as necessary with the parties in the presence of their counsel. The

              goal of this informal stage is to obviate the need to file formal

              discovery motions and briefs, and thereby save the parties time and

              money.

              b) If the Special Master is unable to resolve the discovery dispute

              informally, he will then direct the party wishing to raise the discovery

              dispute to file a motion specifying the relief sought and the basis for

              that relief in accordance with LR 37.1, N.D. Ga., except that the Special

              Master may modify the form requirements of LR 37.1(1)–(5), N.D. Ga.

              as appropriate to most efficiently present the discovery dispute for

              resolution. The Special Master shall also be authorized to impose

              abbreviated time frames for any briefs required.


                                           3
        Case 1:19-cv-01783-AT Document 378 Filed 03/10/22 Page 4 of 6




             c) Upon consideration of any discovery dispute raised and briefed in

             accordance with the procedures set forth herein, the Special Master

             shall enter a R&R setting forth the decision and basis for the decision

             in sufficient detail to permit the Court’s review under Fed. R. Civ. P.

             53(f). In his discretion, the Special Master may provide an R&R to the

             parties before filing it with the Court if he believes that in doing so it

             may lead to the resolution of the discovery issue.

             d) The Special Master may adopt procedures necessary to facilitate

             the efficient and prompt resolution of the discovery disputes

             entrusted to his consideration. Any such procedures shall be

             consistent with due process, the Federal Rules of Civil Procedure, and

             the Court’s Local Rules and shall be discussed with counsel in

             advance, and counsels’ concurrence should be sought.

      (4) The Special Master is directed to proceed with all reasonable diligence to

complete the tasks assigned by this Order.

      (5) Pursuant to Rule 53(a)(2) and 53(b)(3), the Special Master has filed an

affidavit with this Court that states that he/she has no relationship to the parties,

counsel, action, or Court that would require disqualification of a judge under 28

U.S.C. § 455. During the course of these proceedings, the Special Master and the

parties shall notify this Court immediately if they become aware of any potential

grounds that would require disqualification.




                                          4
          Case 1:19-cv-01783-AT Document 378 Filed 03/10/22 Page 5 of 6




        (6) The parties and the Special Master may not communicate on an ex parte

basis, other than (a) as part of any dispute mediation activity, with prior notice to

all parties, or (b) for minor administrative matters. The Special Master, however,

may contact the Court on an ex parte basis to discuss any matters relevant to this

case.

        (7) The Special Master shall file with the Clerk all reports or orders.

        (8) The Special Master shall maintain orderly files consisting of all

documents submitted to him/her by the parties and of any of his/her written

orders, findings, and/or recommendations. The Special Master shall file any

written orders, findings, and/or recommendations with the Court via Electronic

Case Filing (“ECF”). Such filing shall constitute service in accordance with LR

5.1(A), N.D. Ga.

        (9) The Court’s action on any written orders, findings, and/or

recommendations of the Special Master shall be reviewed and handled in

accordance with Fed. R. Civ. P. 53(f).

        (10) Any party seeking review of any ruling of the Special Master shall

comply with the procedures and within the time limits specified in Fed. R. Civ. P.

53(f), except as provided herein or as otherwise directed by the Court.

        (11) The Court has considered the fairness of imposing the likely expenses

on the parties and has taken steps to protect against unreasonable expense or

delay. Currently, all discovery disputes before the Court solely involve Plaintiffs

and Defendant UNOS/OPTN and therefore, the fee arrangements here solely apply


                                           5
        Case 1:19-cv-01783-AT Document 378 Filed 03/10/22 Page 6 of 6




to these specific parties which shall be required to pay the fees on an equal basis.

Pursuant to Rule 53(g), the Special Master shall be compensated at the rate of

$600 per hour for work done pursuant to this Order and shall be reimbursed for

all reasonable expenses incurred. Total fees shall not exceed $24,000 without the

approval of the Court. Any change in the compensation rate or compensation

method must be approved by the Court. The Special Master shall not charge for

travel time, but shall charge for travel expenses to the extent they are incurred.

The Special Master shall provide an invoice for his services to all the parties on a

monthly basis and those bills shall be promptly paid on an equal basis. The Special

Master’s fees and expenses shall be allocated evenly between the Plaintiffs’ side

and UNOS’s side, with 50% allocated to Plaintiffs and 50% allocated to UNOS.

      IT IS SO ORDERED this 10th day of March, 2022.


                                      ___________________________
                                      AMY TOTENBERG
                                      UNITED STATES DISTRICT JUDGE




                                         6
